           Case 1:17-cv-07414-JMF Document 34 Filed 03/15/19 Page 1 of 7



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
BERTA MORALES,                                                         :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      17-CV-7414 (JMF)
                  -v-                                                  :
                                                                       :   MEMORANDUM OPINION
THE DEPARTMENT OF EDUCATION OF                                         :       AND ORDER
THE CITY OF NEW YORK,                                                  :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        In 2013, the New York City Department of Education (“DOE”) brought disciplinary

charges against Berta Morales, a special education teacher, pursuant to New York Education

Law Section 3020-a. See Morales v. N.Y.C. Bd. of Educ., Index 600002/2015, at 1 (N.Y. Sup.

Ct. Feb. 1, 2016) (“Morales II”), 1 aff’d, Morales v. N.Y.C. Bd., 150 A.D.3d 468 (N.Y. App. Div.

1st Dep’t 2017) (“Morales III”). Following an evidentiary hearing, a hearing officer sustained

charges of incompetent and inefficient service, insubordination, neglect of duty, poor judgment,

and unwillingness and inability to follow procedures and carry out normal duties during three

school years. See Morales II, at 1-2. Based on those findings, the hearing officer determined

that just cause existed to terminate Morales and he terminated her. See id. at 2.

        In this case, Morales, proceeding without counsel, brings various claims relating to her

termination. In particular, she alleges that the DOE violated her rights under the Fourth and


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       The Decision and Order in Morales II is unreported, but appears in the record at Docket
No. 23, Exhibit 1. The Court can and does take judicial notice of that and the other decisions
discussed herein “to establish their existence and legal effect.” Bejaoui v. City of New York, No.
13-CV-5667 (NGG), 2015 WL 1529633, at *6 (E.D.N.Y. Mar. 31, 2015).
          Case 1:17-cv-07414-JMF Document 34 Filed 03/15/19 Page 2 of 7



Fourteenth Amendments of the United States Constitution and under Article I of the New York

State Constitution; that the DOE discriminated and retaliated against her in violation of the First

Amendment to the United States Constitution and the Rehabilitation Act of 1973 (the

“Rehabilitation Act”), codified as amended at 29 U.S.C. §§ 701, et seq., after she “questioned the

lack of services for her students.” See Docket No. 1 (“Compl.”). Morales also asserts various

state-law claims, including tortious interference with contract, intentional infliction of emotional

distress, and various claims that the DOE violated Section 3020-a of the New York Education

Law. See id. The DOE now moves, pursuant to Rule 12(c) of the Federal Rules of Civil

Procedure, for judgment on the pleadings, contending (among other arguments) that Morales’s

claims are barred by the doctrines of claim and issue preclusion. See Docket No. 22, at 6-8. 2

       Claim preclusion and issue preclusion are “‘related but distinct’” concepts. In re Indu

Craft Inc., No. 11-CV-5996 (JMF), 2012 WL 3070387, at *10 (S.D.N.Y. July 27, 2012) (quoting

Marvel Characters, Inc. v. Simon, 310 F.3d 280, 286 (2d Cir. 2002)). The former “bars the

relitigation . . . of claims that were, or could have been, brought in an earlier litigation between

the same parties or their privies.” Bank of N.Y. v. First Millennium, Inc., 607 F.3d 905, 919 (2d

Cir. 2010); see also In re Old Carco LLC, No. 14-CV-2225 (JMF), 2014 WL 6790781, at *2

(S.D.N.Y. Dec. 1, 2014). The latter bars relitigation where “(1) the identical issue was raised in

a previous proceeding; (2) the issue was actually litigated and decided in the previous

proceeding; (3) the parties had a full and fair opportunity to litigate the issue; and (4) the



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        A motion for judgment on the pleadings is subject to the same standard as a motion to
dismiss for failure to state a claim brought pursuant to Rule 12(b)(6). See, e.g., Hayden v.
Paterson, 594 F.3d 150, 160 (2d Cir. 2010). “Thus,” a court must “accept all factual allegations
in the complaint as true and draw all reasonable inferences in [the plaintiff’s] favor. To survive a
Rule 12(c) motion, [the] complaint must contain sufficient factual matter, accepted as true, to
state a claim to relief that is plausible on its face.” Id. (internal quotation marks omitted).

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          Case 1:17-cv-07414-JMF Document 34 Filed 03/15/19 Page 3 of 7



resolution of the issue was necessary to support a valid and final judgment on the merits.” Wyly

v. Weiss, 697 F.3d 131, 141 (2d Cir. 2012) (alteration and internal quotation marks omitted). In

either case, the preclusive effects of the prior judgment are not “altered by the fact that the [prior]

judgment may have been wrong or rested on a legal principle subsequently overruled in another

case.” Federated Dep’t Stores, Inc. v. Moitie, 452 U.S. 394, 398 (1981); accord Laaman v.

United States, 973 F.2d 107, 112 (2d Cir. 1992). 3

       Applying those standards here, Morales’s federal claims must be dismissed on account of

the prior proceedings to which she was a party. First, prior to her termination, Morales joined a

lawsuit in this Court alleging that the DOE’s procedures for teacher discipline violated her

procedural due process rights under the Fourth and Fourteenth Amendments of the United States

Constitution and under Article I of the New York State Constitution. See Ingber v. N.Y.C. Dep’t

of Educ., No. 14-CV-3942 (JMF), 2014 WL 6888777, at *1 (S.D.N.Y. Dec. 8, 2014) (“Morales

I”); see Complaint, Ingber v. N.Y.C. Dep’t of Educ., Docket No. 1, 14-CV-3942 (JMF),

(S.D.N.Y. June 3, 2014). In that suit, Morales and her fellow plaintiffs contended that their due

process rights had been violated because the DOE did not comply with the procedures set out in

Section 3020-a of the New York Education Law. See Morales I, 2014 WL 6888777, at *1. This



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        Both claim and issue preclusion are affirmative defenses, see Fed. R. Civ. P. 8(c)(1);
Curry v. City of Syracuse, 316 F.3d 324, 330 (2d Cir. 2003), and normally “a plaintiff is not
required to anticipate potential affirmative defenses and to affirmatively plead facts in avoidance
of such defenses.” Galin v. Hamada, No. 15-CV-6992 (JMF), 2016 WL 2733132, at *2
(S.D.N.Y. May 10, 2016) (citations, alterations, and internal quotation marks omitted).
Nevertheless, a court may grant a motion for judgment on the pleadings where, as here, “the
defense clearly applies” on the face of the pleadings (and matters of which the Court can take
judicial notice). Id.; see Nat’l Credit Union Admin. Bd. v. Morgan Stanley & Co., No. 13-CV-
6705 (DLC), 2014 WL 241739, at *3 (S.D.N.Y. Jan. 22, 2014) (noting, in evaluating an
affirmative defense at the motion-to-dismiss stage, that “[i]n addition to the four corners of the
complaint, the court may also consider documents appended to the complaint or incorporated in
the complaint by reference, as well as matters of which judicial notice may be taken” (alterations
and internal quotation marks omitted)).
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          Case 1:17-cv-07414-JMF Document 34 Filed 03/15/19 Page 4 of 7



Court dismissed the plaintiffs’ federal claims on two grounds: that they had failed to adequately

plead the existence of a protected property or liberty interest and that they had received all of the

process to which they were due. See id. at *3-4. The Court then declined to exercise

supplemental jurisdiction over the plaintiffs’ state-law claims and dismissed the case. See id. at

*4. Then, after her termination, Morales brought an Article 75 proceeding in New York State

Supreme Court challenging the adequacy of the Section 3020-a hearing at which the hearing

officer had determined that there existed just cause for her termination. See Morales II, Index

No. 600002/2015, at 1. In the Article 75 proceeding, Morales alleged various violations of her

constitutional rights and of Section 3020-a. See id. at 2-3. On the DOE’s motion, the New York

Supreme Court dismissed Morales’s claims and confirmed the hearing officer’s decision. See id.

at 4-8. Morales appealed, and the Appellate Division affirmed on the merits. See Morales III,

150 A.D.3d at 468-69.

       The preclusive effects of those proceedings are fatal to nearly all of Morales’s federal

claims here. First, any federal due process claim arising from her termination must fail because,

regardless of any property or liberty interests at stake, Morales received all the process she was

due at the Section 3020-a hearing. See, e.g., Ramberran v. Dellacona, No. 07-CV-304 (CBA),

2008 WL 905217, at *4 (E.D.N.Y. Mar. 31, 2008) (“[T]he procedures outlined by § 3020-a of

the Education Law, when followed, are more than adequate procedural safeguards to satisfy the

plaintiff’s due process rights under the Fourteenth Amendment.” (internal quotation marks

omitted)). Indeed, the doctrine of issue preclusion bars Morales from asserting that she received

anything less than an adequate hearing as far as Section 3020-a is concerned. Morales had a full

and fair opportunity to litigate the propriety of her Section 3020-a hearing before the Article 75

court, which specifically found that the hearing was procedurally adequate. See Morales II,



                                                  4
          Case 1:17-cv-07414-JMF Document 34 Filed 03/15/19 Page 5 of 7



Index No. 600002/2015, at 4 (“[Morales’s] due process rights were not violated. She was

represented by counsel, presented evidence, testified, cross-examined witnesses and presented

witnesses to testify on her behalf.”). Because the requirements of issue preclusion are met with

respect to that finding, Morales is barred from relitigating it here. See Blythe v. City of New

York, 963 F. Supp. 2d 158, 175 (E.D.N.Y. 2013) (holding that a plaintiff was precluded from

arguing that a Section 3020-a proceeding was deficient “[b]ecause the Article 75 court

previously determined that the procedures employed in the § 3020-a hearing were fair”). And,

absent any basis to assert that she received less than due process in connection with her

termination, Morales’s Fourteenth Amendment claims cannot survive.

        Issue preclusion also foils any retaliation claims Morales seeks to bring under the First

Amendment or the Rehabilitation Act. After all, the Section 3020-a hearing officer held, and the

Article 75 court affirmed, “that there was no basis to conclude that [the principal’s] actions were

motivated by anything other than a desire to see quality teachers at PS 70.” Morales II, Index

No. 600002/2015, at 7. In any event, any such claims also fail on the merits. “[T]he elements of

a retaliation claim under [the Rehabilitation Act] . . . are (i) a plaintiff was engaged in protected

activity; (ii) the alleged retaliator knew that plaintiff was involved in protected activity; (iii) an

adverse decision or course of action was taken against plaintiff; and (iv) a causal connection

exists between the protected activity and the adverse action.” Weixel v. Bd. of Educ. of City of

New York, 287 F.3d 138, 148 (2d Cir. 2002) (internal quotation marks omitted). Similarly, “[t]o

state a prima facie claim of First Amendment retaliation under Section 1983, [a plaintiff] must

offer some tangible proof that 1) her speech was constitutionally protected; 2) she suffered an

adverse employment action; and 3) a causal relationship between the two existed in that the

speech was a substantial or motivating factor for the adverse employment action.” Burkybile v.



                                                   5
         Case 1:17-cv-07414-JMF Document 34 Filed 03/15/19 Page 6 of 7



Bd. of Educ. of Hastings-On-Hudson Union Free Sch. Dist., 411 F.3d 306, 313 (2d Cir. 2005).

But even construing Morales’s Complaint liberally, the Court concludes that she fails to allege

any facts plausibly suggesting that she was engaged in protected activity or that there was a

causal connection between any such activity and her termination. Morales’s only such allegation

— the simple assertion that she “was harmed because she questioned the lack of services for her

students,” Compl. ¶ 4 — is both too cursory and too conclusory to constitute a plausible

allegation of protected activity. In any event, Morales’s Complaint is devoid of any factual

allegation supporting even a generous inference of a causal relationship between the adverse

actions taken against her and any protected activity. Her retaliation claims, whether brought

under the First Amendment or the Rehabilitation Act, must therefore be dismissed.

       Finally, to the extent that Morales brings claims under the Fourth Amendment, those

claims are dismissed as frivolous. Morales’s allegations have nothing to do with the rights

involving unreasonable searches and seizures protected by the Fourth Amendment. Similarly,

Morales includes in her Complaint a brief, conclusory statement that the DOE deprived her of

equal protection of the laws in violation of the Fourteenth Amendment, Compl. ¶ 46; in the

absence of any accompanying factual support, any such claim is dismissed as frivolous as well.

       In short, the DOE’s motion for judgment on the pleadings is GRANTED with respect to

Morales’s federal claims, which must be and are dismissed. Further, because the problems with

those claims are substantive and cannot be cured, the Court declines to grant leave to amend on

its own initiative. See, e.g., Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir. 2000) (holding that a

district court may deny leave to amend when amendment would be futile because the problems

with the plaintiff’s claims are “substantive” and “better pleading will not cure” them). Next, the

Court declines to exercise supplemental jurisdiction over Morales’s state-law claims. See 28



                                                6
          Case 1:17-cv-07414-JMF Document 34 Filed 03/15/19 Page 7 of 7



U.S.C. § 1367(c); see also, e.g., Purgess v. Sharrock, 33 F.3d 134, 138 (2d Cir. 1994)

(recognizing that if a plaintiff’s federal claims are dismissed before trial and there has not been a

substantial expenditure of resources on the state claims, state-law claims should generally be

dismissed as well); accord Ingber, 2014 WL 6888777, at *4. Finally, the Court certifies,

pursuant to Title 28, United States Code, Section 1915(a)(3), that any appeal from this

Memorandum Opinion and Order would not be taken in good faith and, thus, in forma pauperis

status is denied. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

       The Clerk of Court is directed to terminate Docket No. 21; to mail a copy of this

Memorandum Opinion and Order to Morales; and to close the case.


       SO ORDERED.

Dated: March 15, 2019                                 __________________________________
       New York, New York                                      JESSE M. FURMAN
                                                             United States District Judge




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